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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District of Oklahoma

                                                                               )
IN RE: OIL SPILL by the OIL RIG
"DEEPWATER HORIZON" in the                                                     )


                                                                                        Civil Action No.         MDL 2179
GULF OF MEXICO on APRIL 20, 2010                                               )



                                                                               )



                                                                               )
                                                                                        (If the action is pending in another district, state where:
                              Dejenaant                                        )                Eastern District of Louisiana

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To: Kelkar & Associates, Inc.
        3528 East 104th Street, Tulsa, OK 74137
    19( Production: YOU ARE COMM ANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A




 Place: GableGotwals, attn: Steven Barhols                                               Date and Time:
           100 W. Fifth Street                                                                                 07/02/2012 5:00 pm
           Tulsa, OK 74103

     10 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.


Date:

                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                          Attorney's signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)       BP Production &
Exploration, Inc. and BP America Production Company                      , who issues or requests this subpoena, are:
 Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
 rgasaway@kirkland.com
 (202) 879-5000



                                                                                                                                          DRAFT
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

           This subpoena for (name of individual and title, if any)
was received by me on (date)

           El I served the subpoena by delivering a copy to the named person as follows:


                                                                                                on (date)                                   ; or

           CI I returned the subpoena unexecuted because:


           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
           tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                       for travel and $                              for services, for a total of $                   0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server's signature



                                                                                                  Printed name and title




                                                                                                     Server's address

Additional information regarding attempted service, etc:




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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                     (d) Duties in Responding to a Subpoena.
 (1)Avoiding Undue Burden or Expense; Sanctions. A party or                          (1) Producing Documents or Electronica4 Stored Information.
attorney responsible for issuing and serving a subpoena must take                  These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                    stored information:
person subject to the subpoena. The issuing court must enforce this                   (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                   documents must produce them as they are kept in the ordinary
earnings and reasonable attorney's fees — on a party or attorney                   course of business or must organize and label them to correspond to
who fails to comply.                                                               the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                      Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or               electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronical6) Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                      Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                    that the information is not reasonably accessible because of undue
following rules apply:                                                             burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving               order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production                good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                     court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and              (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                 (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                        information under a claim that it is privileged or subject to
  (3) Quashing or Modifting a Subpoena.                                            protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                        (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                               communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer           revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                   parties to assess the claim.
employed, or regularly transacts business in person — except that,                   (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                   subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where             preparation material, the person making the claim may notify any
the trial is held;                                                                 party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if         After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                 destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                       or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by               reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                  before being notified; and may promptly present the information to
subpoena if it requires:                                                           the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                 who produced the information must preserve the information until
development, or commercial information;                                            the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                 (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                           who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur          subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                 subpoena purports to require the nonparty to attend or produce at a
   (C) Speci&ing Conditions as an Alternative. In the circumstances                place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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   EXHIBIT A TO "SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
    OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION"
                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:


         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

        placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

        pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

        production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

        4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical


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         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer




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         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.

         10. "MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

         11. "Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12. "You" and "Your" refer to Kelkar and Associates, Inc., and any of its officers,

         employees, contractors, fellows, researchers, analysts, other assistants, and agents.

                                    DOCUMENTS REQUESTED

    1. Any and all documents, data, information and communications related to your work for

         the United States and/or the Flow Rate Technical Group on MC252. This request shall

         include, without limitation:

             a. Any and all communications with the United States, any United States employee,

                 any national laboratory or any of its employees, or anyone affiliated or working

                 with the Flow Rate Technical Group related to MC252.

             b. Any and all documents, data, information, and/or communications related to

                 models of the MC252 hydrocarbon reservoir, models of any characteristic of the

                 MC252 well, or models used to estimate the flow rate of hydrocarbons or other

                 substances from the MC252 well, including without limitation the models

                 themselves; documents, data, or information related to the inputs, outputs, or



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                 results of these models; black oil models; equation of state (EOS) models; and/or

                 communications related to the inputs, outputs, or results of these models.

             c. Any and all documents, data, information, and/or communications related to the

                 characteristics of MC252, the MC252 hydrocarbon reservoir, or the MC252 well,

                 including without limitation pressure, permeability, porosity, rock

                 compressibility, viscosity of reservoir fluids, GOR of reservoir fluids, Pressure

                 Volume Temperature ("PVT") properties, formation volume factor, initial

                 reservoir pressure, water saturation, reservoir temperature, water drive, final

                 reservoir pressure, productivity index, thickness of hydrocarbon bearing sands,

                 skin, compressibility of reservoir fluids, saturation pressure, drainage area,

                 amount of hydrocarbons initially in the reservoir, and the depletion of

                 hydrocarbons and the effect on pressure.

             d. Any and all documents, data, information, and/or communications related to

                 reports, preliminary reports, and/or drafts of reports related to MC252, including

                 without limitation:

                     i.   Any and all reports (preliminary or final), drafts of reports, or drafts of

                          reports marked for correction related to MC252.

                    ii. Any and all documents and/or communications regarding any basis for

                          using or citing sources referenced in any report, preliminary report, and/or

                          drafts of reports related to MC252.

                    iii. Any and all documents, data, and/or communications used to calculate,

                          support, review, compare, analyze, confirm, measure, or otherwise




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                        evaluate any and all conclusions and determinations in any report,

                        preliminary report, and/or drafts of reports related to MC252.

                    iv. Any and all communications regarding reports (final or preliminary),

                        drafts of reports, or drafts of reports marked for correction related to

                        MC252.

             e. Any and all communications amongst you and/or your employees, contractors,

                 staff, or agents related to MC252.

             f. Any and all maps related to MC252.

             g. Any and all documents, data, information, and/or communications related to any

                 calculations, estimations, or analysis of the MC252 hydrocarbon reservoir, flow

                 of oil or other substances through the MC252 well, fluids discharged from the

                 MC252 wellhead, fluids contained in the MC252 hydrocarbon reservoir, or any

                 other aspect of MC252.

             h. Any and all documents, data, information, and/or communications related to

                 pressure changes that occurred as oil or any other substance flowed through the

                 MC252 Well.

    2. All documents referring or relating to the physical or chemical properties of oil or any

         other substance discharged from the wellhead of the MC252 Well.

    3. All documents referring or relating to predictions, estimates or measurements of the

         amounts of oil or any other substance discharged from the wellhead of the MC252 Well.

    4. Any and all documents, data, information, and/or communications referring or relating to

        the geometry of the MC252 Well (e.g., from the bottomhole to the wellhead) and any

         changes to the geometry of the MC252 Well from the time of the Incident until the



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         MC252 Well was shut-in; the geometry of the BOP/LMRP and any changes to the

         geometry of the BOP/LMRP from the time of the Incident until the MC252 Well was

         shut-in; and the geometry of the riser and any changes to the geometry of the riser before

         it was removed on June 3, 2010.

    5. Any and all documents, including but not limited to any underlying data and

         communications by, among, or involving you, your employees, contractors, or agents and

         the United States, referring or relating to the flow path of hydrocarbons in the MC252

         Well, the riser, and the BOP/LMRP, including but not limited to all documents referring

         or relating to the effect of changes in geometry of the MC252 Well, the riser, and the

         BOP/LMRP, and possible obstructions to the flow of hydrocarbons in the bottomhole, the

         wellbore, the riser, and the BOP/LMRP.

    6. Any and all documents or communications referring or relating to hypotheses or

        judgments made about any reservoir pressure changes, including any such pressure

         changes resulting from well draw-down or well skin.

    7. Any and all data related to MC252 provided to you by the United States, including

         without limitation bottomhole pressure transient data, the wellbore schematic listing all

         critical dimensions and depths, flow assurance, wax, and asphaltene analyses,

         geochemical analysis, mud log and CMR analysis, and raw log data.

    8. Any and all data provided to you by the United States relating to any well that was

         considered to be an analog well by the Flow Rate Technical Group, including without

         limitation bottomhole pressure transient data, the wellbore schematic listing all critical

         dimensions and depths, flow assurance, wax, and asphaltene analyses, geochemical

         analysis, mud log and CMR analysis and raw log data.



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    9. Any and all documents related to any efforts to determine the volume of oil spilled or the

         flow rate of oil spilled from the MC252 Well, including but not limited to calculations of

         volumes of oil spilled and the flow rate at which oil was spilled from the MC252 Well.




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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                          Northern District of Oklahoma

IN RE: OIL SPILL by the OIL RIG
"DEEPWATER HORIZON" in the
GULF OF MEXICO on APRIL 20, 2010 Civil Action No. MDL 2179

                                                                                       (If the action is pending in another district, state where:
                                                                                              Eastern District of Louisiana

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To: Kelkar & Associates, Inc.
      3528 East 104th Street, Tulsa, OK 74137
      ti( Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
 one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
 about the following matters, or those set forth in an attachment:
See Exhibit A

  Place: GableGotwals, attn: Steven Barhols                                             Date and Time:
         100 W. Fifth Street                                                                                 08/15/2012 8:30 am
         Tulsa, OK 74103

            The deposition will be recorded by this method: Stenographic and Audio-Visual

         El Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
           material:




         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.

 Date:
                                    CLERK OF COURT
                                                                                           OR

                                            Signature of Clerk or Deputy Clerk                                       Attorney's signature

  The name, address, e-mail, and telephone number of the attorney representing (name of party)        BP Production &
 Exploration, Inc. and BP America Production Company                       , who issues or requests this subpoena, are:
Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
rgasaway@kirkland.com
(202) 879-5000
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AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

        This subpoena for (name of individual and title, if any)
was received by me on (date)

          11 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                  ; or

          El I returned the subpoena unexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of


My fees are $                                      for travel and $                   for services, for a total of $   0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                        Server's signature



                                                                                      Printed name and title




                                                                                         Server's address

Additional information regarding attempted service, etc:




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                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                     (d) Duties in Responding to a Subpoena.
 (1)Avoiding Undue Burden or Expense; Sanctions. A party or                          (1) Producing Documents or Electronica4y Stored Information.
 attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
 reasonable steps to avoid imposing undue burden or expense on a                   stored information:
 person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
 duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
 earnings and reasonable attorney's fees — on a party or attorney                  course of business or must organize and label them to correspond to
 who fails to comply.                                                              the categories in the demand.
    (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
    (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
 documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                  (C) Electronical6) Stored Information Produced in Only One
    (B) Objections. A person commanded to produce documents or                    Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and             (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modiffing a Subpoena.                                           protection as trial-preparation material must:
    (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim ;. and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                  (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
    (B) When Permitted. To protect a person subject to or affected by             reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur         subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
    (C) Specib4ng Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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EXHIBIT A TO "SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION"


                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:

         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

         placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

         pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

         production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

         4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical


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         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer




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         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.

         10."MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

         11."Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12."You" and "Your" refer to Kelkar and Associates, Inc., and any of its officers,

         employees, contractors, fellows, researchers, analysts, other assistants, and agents.

                                    SUBJECTS FOR TESTIMONY

     1. Your work for the United States and/or the Flow Rate Technical Group regarding

         MC252.

    2. Your knowledge of and involvement in acquiring, processing, and/or analyzing data

         regarding the flow of hydrocarbons from the MC252 Well.

    3. Your knowledge of the persons or entities acquiring, processing, and/or analyzing the

         flow of hydrocarbons from the MC252 Well.

    4. Your analysis and conclusions regarding the flow of hydrocarbons from the MC252

         Well.

    5. Your analysis of the chemical composition, viscosity, compressibility, formation volume

         factor, gas/oil ratio ("GOR"), saturation pressure, and density of the fluid in, or

         discharged from, the MC252 Hydrocarbon Reservoir.


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     6. Your analysis of the geophysical, geological, and petrophysical properties of the MC252

         Hydrocarbon Reservoir.

     7. Your analysis of the pressure of the MC252 Well, including the pressure in the MC252

         Hydrocarbon Reservoir, the pressure in the wellbore, the pressure at the wellhead, the

         pressure in the blowout preventer, and the pressure in the capping stack.

     8. Your analysis of the flow path of hydrocarbons discharged from the MC252 Well.

    9. Any well that you considered, or were asked to consider, as an analog well to the MC252

         Well, including the reasons why it was considered an analog well and the purposes for

         which that analog was used.

     10. Your communications with the United States, any United States employee, any national

         laboratory or any of its employees, or anyone affiliated or working with the Flow Rate

         Technical Group related to MC252.

     11. Your receipt of financial or other compensation from any source for your role in

         acquiring, processing, and/or analyzing the flow of hydrocarbons from the MC252 Well.




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                 Attachment E
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Southern District of Texas

IN RE: OIL SPILL by the OIL RIG
"DEEPWATER HORIZON" in the
GULF OF MEXICO on APRIL 20, 2010                                                        Civil Action No.         MDL 2179

                                                                                        (If the action is pending in another district, state where:
                                                                                                Eastern District of Louisiana

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To: Gemini Solutions Inc.
      702 Morton Street, Richmond, TX 77469

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A




 Place: Liskow & Lewis, attn: Don Haycraft                                               Date and Time:
         1001 Fannin Street, Suite 1800                                                                        07/02/2012 5:00 pm
        Houston, TX 77002

     171 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.


Date:

                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)       BP Production &
Exploration, Inc. and BP America Production Company                      , who issues or requests this subpoena, are:
 Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
 rgasaway@kirkland.com
 (202) 879-5000
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)

          CI I served the subpoena by delivering a copy to the named person as follows:


                                                                                                on (date)                                   ; or

          CI I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                              for services, for a total of $                    0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                                  Printed name and title




                                                                                                     Server's address

Additional information regarding attempted service, etc:




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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                     (d) Duties in Responding to a Subpoena.
 (1)Avoiding Undue Burden or Expense; Sanctions. A party or                         (1) Producing Documents or Electronical6, Stored Information.
attorney responsible for issuing and serving a subpoena must take                  These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                    stored information:
person subject to the subpoena. The issuing court must enforce this                   (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                   documents must produce them as they are kept in the ordinary
earnings and reasonable attorney's fees — on a party or attorney                   course of business or must organize and label them to correspond to
who fails to comply.                                                               the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                             (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                      Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or               electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                  (C) Electronicalo) Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                      Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                    that the information is not reasonably accessible because of undue
following rules apply:                                                             burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving               order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production                good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                     court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and              (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                 (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                        information under a claim that it is privileged or subject to
  (3) Quashing or Modibling a Subpoena.                                            protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                        (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                               communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer           revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                   parties to assess the claim.
employed, or regularly transacts business in person — except that,                   (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                   subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where             preparation material, the person making the claim may notify any
the trial is held;                                                                 party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if,        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                 destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                       or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by               reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                  before being notified; and may promptly present the information to
subpoena if it requires:                                                           the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                 who produced the information must preserve the information until
development, or commercial information;                                            the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                 (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                           who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur          subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                 subpoena purports to require the nonparty to attend or produce at a
   (C) Specibiing Conditions as an Alternative. In the circumstances               place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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   EXHIBIT A TO "SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
    OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION"
                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:


         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

         placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

         pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

         production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

         4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical


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         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer




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         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.

         10. "MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

         11. "Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12. "You" and "Your" refer to Gemini Solutions Inc. and any of its officers, employees,

         contractors, fellows, researchers, analysts, other assistants, and agents.

                                    DOCUMENTS REQUESTED

    1. Any and all documents, data, information and communications related to your work for

         the United States and/or the Flow Rate Technical Group on MC252. This request shall

         include, without limitation:

             a. Any and all communications with the United States, any United States employee,

                 any national laboratory or any of its employees, or anyone affiliated or working

                 with the Flow Rate Technical Group related to MC252.

             b. Any and all documents, data, information, and/or communications related to

                 models of the MC252 hydrocarbon reservoir, models of any characteristic of the

                 MC252 well, or models used to estimate the flow rate of hydrocarbons or other

                 substances from the MC252 well, including without limitation the models

                 themselves; documents, data, or information related to the inputs, outputs, or



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                    results of these models; black oil models; equation of state (EOS) models; and/or

                    communications related to the inputs, outputs, or results of these models.

                 c. Any and all documents, data, information, and/or communications related to the

                    characteristics of MC252, the MC252 hydrocarbon reservoir, or the MC252 well,

                    including without limitation pressure, permeability, porosity, rock

                    compressibility, viscosity of reservoir fluids, GOR of reservoir fluids, Pressure

                    Volume Temperature ("PVT") properties, formation volume factor, initial

                    reservoir pressure, water saturation, reservoir temperature, water drive, final

                    reservoir pressure, productivity index, thickness of hydrocarbon bearing sands,

                    skin, compressibility of reservoir fluids, saturation pressure, drainage area,

                    amount of hydrocarbons initially in the reservoir, and the depletion of

                    hydrocarbons and the effect on pressure.

             d. Any and all documents, data, information, and/or communications related to

                    reports, preliminary reports, and/or drafts of reports related to MC252, including

                    without limitation:

                        i. Any and all reports (preliminary or final), drafts of reports, or drafts of

                           reports marked for correction related to MC252.

                       ii. Any and all documents and/or communications regarding any basis for

                           using or citing sources referenced in any report, preliminary report, and/or

                           drafts of reports related to MC252.

                       iii. Any and all documents, data, and/or communications used to calculate,

                           support, review, compare, analyze, confirm, measure, or otherwise




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                        evaluate any and all conclusions and determinations in any report,

                        preliminary report, and/or drafts of reports related to MC252.

                    iv. Any and all communications regarding reports (final or preliminary),

                        drafts of reports, or drafts of reports marked for correction related to

                        MC252.

             e. Any and all communications amongst you and/or your employees, contractors,

                 staff, or agents related to MC252.

             f. Any and all maps related to MC252.

             g. Any and all documents, data, information, and/or communications related to any

                 calculations, estimations, or analysis of the MC252 hydrocarbon reservoir, flow

                 of oil or other substances through the MC252 well, fluids discharged from the

                 MC252 wellhead, fluids contained in the MC252 hydrocarbon reservoir, or any

                 other aspect of MC252.

             h. Any and all documents, data, information, and/or communications related to

                 pressure changes that occurred as oil or any other substance flowed through the

                 MC252 Well.

    2. All documents referring or relating to the physical or chemical properties of oil or any

         other substance discharged from the wellhead of the MC252 Well.

    3. All documents referring or relating to predictions, estimates or measurements of the

         amounts of oil or any other substance discharged from the wellhead of the MC252 Well.

    4. Any and all documents, data, information, and/or communications referring or relating to

         the geometry of the MC252 Well (e.g., from the bottomhole to the wellhead) and any

         changes to the geometry of the MC252 Well from the time of the Incident until the




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         MC252 Well was shut-in; the geometry of the BOP/LMRP and any changes to the

         geometry of the BOP/LMRP from the time of the Incident until the MC252 Well was

         shut-in; and the geometry of the riser and any changes to the geometry of the riser before

         it was removed on June 3, 2010.

     5. Any and all documents, including but not limited to any underlying data and

         communications by, among, or involving you, your employees, contractors, or agents and

         the United States, referring or relating to the flow path of hydrocarbons in the MC252

         Well, the riser, and the BOP/LMRP, including but not limited to all documents referring

         or relating to the effect of changes in geometry of the MC252 Well, the riser, and the

         BOP/LMRP, and possible obstructions to the flow of hydrocarbons in the bottomhole, the

         wellbore, the riser, and the BOP/LMRP.

    6. Any and all documents or communications referring or relating to hypotheses or

         judgments made about any reservoir pressure changes, including any such pressure

         changes resulting from well draw-down or well skin.

    7. Any and all data related to MC252 provided to you by the United States, including

         without limitation bottomhole pressure transient data, the wellbore schematic listing all

         critical dimensions and depths, flow assurance, wax, and asphaltene analyses,

         geochemical analysis, mud log and CMR analysis, and raw log data.

    8. Any and all data provided to you by the United States relating to any well that was

         considered to be an analog well by the Flow Rate Technical Group, including without

         limitation bottomhole pressure transient data, the wellbore schematic listing all critical

         dimensions and depths, flow assurance, wax, and asphaltene analyses, geochemical

         analysis, mud log and CMR analysis and raw log data.



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     9. Any and all documents related to any efforts to determine the volume of oil spilled or the

         flow rate of oil spilled from the MC252 Well, including but not limited to calculations of

         volumes of oil spilled and the flow rate at which oil was spilled from the MC252 Well.




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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                             Southern District of Texas

IN RE: OIL SPILL by the OIL RIG
                                                                                )
"DEEPWATER HORIZON" in the
GULF OF MEXICO on APRIL 20, 2010                                                )


                                                                                )
                                                                                       Civil Action No. MDL 2179
                                                                                )



                                                                                )
                                                                                       (If the action is pending in another district, state where:
                                                                                )
                                                                                              Eastern District of Louisiana

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To: Gemini Solutions Inc.
      702 Morton Street, Richmond, TX 77469
         Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
 one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
 about the following matters, or those set forth in an attachment:
See Exhibit A

  Place: Liskow & Lewis, attn: Don Haycraft                                             Date and Time:
          1001 Fannin Street, Suite 1800                                                                     08/13/2012 8:30 am
            Houston, TX 77002

            The deposition will be recorded by this method:                  Stenographic and Audio-Visual

         11 Production: You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
            material:




         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.

 Date:
                                    CLERK OF COURT
                                                                                           OR

                                            Signature of Clerk or Deputy Clerk                                       Attorney's signature

 The name, address, e-mail, and telephone number of the attorney representing (name of party)        BP Production &
 Exploration, Inc. and BP America Production Company                      , who issues or requests this subpoena, are:
Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
rgasaway@kirkland.com
(202) 879-5000




                                                                                                                                              3AFT
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AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)

          CI I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                  ; or

          1711 I returned the subpoena unexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of


My fees are $                                      for travel and $                   for services, for a total of $   0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                        Server's signature



                                                                                      Printed name and title




                                                                                         Server's address

Additional information regarding attempted service, etc:
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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                        (d) Duties in Responding to a Subpoena.
 (1)Avoiding Undue Burden or Expense; Sanctions. A party or                             (1) Producing Documents or Electronica4 Stored Information.
attorney responsible for issuing and serving a subpoena must take                     These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                       stored information:
person subject to the subpoena. The issuing court must enforce this                      (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                      documents must produce them as they are kept in the ordinary
earnings and reasonable attorney's fees — on a party or attorney                      course of business or must organize and label them to correspond to
who fails to comply.                                                                  the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                                (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required A person commanded to produce                          Specified If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or                  electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the                produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                     in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                     (C) Electronical6) Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                         Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                     electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                               (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or               responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                    information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                     accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14                  discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                       that the information is not reasonably accessible because of undue
following rules apply:                                                                burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving                  order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production                   good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                        court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and                 (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                    (A) Information Withheld A person withholding subpoenaed
officer from significant expense resulting from compliance.                           information under a claim that it is privileged or subject to
  (3) Quashing or Modifting a Subpoena.                                               protection as trial-preparation material must:
   (A) When Required On timely motion, the issuing court must                            (i) expressly make the claim; and
quash or modify a subpoena that:                                                         (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                                  communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer              revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                      parties to assess the claim.
employed, or regularly transacts business in person — except that,                      (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                      subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where                preparation material, the person making the claim may notify any
the trial is held;                                                                    party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if            After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                    destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                          or disclose the information until the claim is resolved; must take
   (B) When Permitted To protect a person subject to or affected by                   reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                     before being notified; and may promptly present the information to
subpoena if it requires:                                                              the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                    who produced the information must preserve the information until
development, or commercial information;                                               the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                    (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                              who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur             subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                    subpoena purports to require the nonparty to attend or produce at a
   (C) SpecO)ing Conditions as an Alternative. In the circumstances                   place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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EXHIBIT A TO "SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION"


                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:


         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

         placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

         pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

         production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

         4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical


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         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer




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         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.

          10. "MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

         11. "Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12. "You" and "Your" refer to Gemini Solutions Inc. and any of its officers, employees,

         contractors, fellows, researchers, analysts, other assistants, and agents.

                                    SUBJECTS FOR TESTIMONY

     1. Your work for the United States and/or the Flow Rate Technical Group regarding

         MC252.

    2. Your knowledge of and involvement in acquiring, processing, and/or analyzing data

         regarding the flow of hydrocarbons from the MC252 Well.

    3. Your knowledge of the persons or entities acquiring, processing, and/or analyzing the

         flow of hydrocarbons from the MC252 Well.

    4. Your analysis and conclusions regarding the flow of hydrocarbons from the MC252

         Well.

    5. Your analysis of the chemical composition, viscosity, compressibility, formation volume

         factor, gas/oil ratio ("GOR"), saturation pressure, and density of the fluid in, or

         discharged from, the MC252 Hydrocarbon Reservoir.



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     6. Your analysis of the geophysical, geological, and petrophysical properties of the MC252

         Hydrocarbon Reservoir.

     7. Your analysis of the pressure of the MC252 Well, including the pressure in the MC252

         Hydrocarbon Reservoir, the pressure in the wellbore, the pressure at the wellhead, the

         pressure in the blowout preventer, and the pressure in the capping stack.

     8. Your analysis of the flow path of hydrocarbons discharged from the MC252 Well.

    9. Any well that you considered, or were asked to consider, as an analog well to the MC252

         Well, including the reasons why it was considered an analog well and the purposes for

         which that analog was used.

     10.Your communications with the United States, any United States employee, any national

         laboratory or any of its employees, or anyone affiliated or working with the Flow Rate

         Technical Group related to MC252.

     11.Your receipt of financial or other compensation from any source for your role in

         acquiring, processing, and/manalyzing the flow of hydrocarbons from the MC252 Well.




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                 Attachment F
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AO 88B (Rev. 06/09) Subpoena to Produce Documents Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            Eastern District of Louisiana


IN RE: OIL SPILL by the OIL RIG
"DEEPWATER HORIZON" in the                                                             Civil Action No.          MDL 2179
GULF OF MEXICO on APRIL 20, 2010
                                                                                       (If the action is pending in another district, state where:



                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: R.G. Hughes and Associates, L.L.C.
        5541 Duncan Kenner Drive, Baton Rouge, LA 70820

     lie Production: YOU ARE COMM ANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A




 Place: Liskow & Lewis, attn: Don Haycraft                                               Date and Time:
        701 Poydras Street, Suite 5000                                                                        07/02/2012 5:00 pm
        New Orleans, LA 70139

     171 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.


Date:

                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)                                      BP Production &
Exploration, Inc. and BP America Production Company                                              , who issues or requests this subpoena, are:
 Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
 rgasaway@kirkland.com
 (202) 879-5000
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)

              I served the subpoena by delivering a copy to the named person as follows:


                                                                                                on (date)                                   ; or

          [71 I returned the subpoena unexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                              for services, for a total of $                    0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                                  Printed name and title




                                                                                                     Server's address

Additional information regarding attempted service, etc:
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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                     (d) Duties in Responding to a Subpoena.
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or                         (1) Producing Documents or Electronica4 Stored Information.
attorney responsible for issuing and serving a subpoena must take                  These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                    stored information:
person subject to the subpoena. The issuing court must enforce this                   (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                   documents must produce them as they are kept in the ordinary
earnings and reasonable attorney's fees — on a party or attorney                   course of business or must organize and label them to correspond to
who fails to comply.                                                               the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                             (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required A person commanded to produce                       Specified If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or               electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                  (C) Electronicaloi Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                      Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                    that the information is not reasonably accessible because of undue
following rules apply:                                                             burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving               order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production                good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                     court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and              (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                 (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                        information under a claim that it is privileged or subject to
 (3) Quashing or Modiffing a Subpoena.                                             protection as trial-preparation material must:
   (A) When Required On timely motion, the issuing court must                         (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                               communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer           revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                   parties to assess the claim.
employed, or regularly transacts business in person — except that,                   (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                   subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where             preparation material, the person making the claim may notify any
the trial is held;                                                                 party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if         After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                 destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                       or disclose the information until the claim is resolved; must take
   (B) When Permitted To protect a person subject to or affected by                reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                  before being notified; and may promptly present the information to
subpoena if it requires:                                                           the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                 who produced the information must preserve the information until
development, or commercial information;                                            the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                 (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                           who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur          subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                 subpoena purports to require the nonparty to attend or produce at a
   (C) Specib)ing Conditions as an Alternative. In the circumstances               place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
                                                                                                                                               F
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   EXHIBIT A TO "SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
    OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION"
                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:


         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

         placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

         pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

         production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

         4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical


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         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer




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         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.

         10. "MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

         11. "Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12. "You" and "Your" refer to R.G. Hughes and Associates, L.L.C., and any of its

         officers, employees, contractors, fellows, researchers, analysts, other assistants, and

         agents.

                                     DOCUMENTS REQUESTED

    1. Any and all documents, data, information and communications related to your work for

         the United States and/or the Flow Rate Technical Group on MC252. This request shall

         include, without limitation:

             a. Any and all communications with the United States, any United States employee,

                   any national laboratory or any of its employees, or anyone affiliated or working

                   with the Flow Rate Technical Group related to MC252.

             b. Any and all documents, data, information, and/or communications related to

                   models of the MC252 hydrocarbon reservoir, models of any characteristic of the

                   MC252 well, or models used to estimate the flow rate of hydrocarbons or other

                   substances from the MC252 well, including without limitation the models



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                 themselves; documents, data, or information related to the inputs, outputs, or

                 results of these models; black oil models; equation of state (EOS) models; and/or

                 communications related to the inputs, outputs, or results of these models.

             c. Any and all documents, data, information, and/or communications related to the

                 characteristics of MC252, the MC252 hydrocarbon reservoir, or the MC252 well,

                 including without limitation pressure, permeability, porosity, rock

                 compressibility, viscosity of reservoir fluids, GOR of reservoir fluids, Pressure

                 Volume Temperature ("PVT") properties, formation volume factor, initial

                 reservoir pressure, water saturation, reservoir temperature, water drive, final

                 reservoir pressure, productivity index, thickness of hydrocarbon bearing sands,

                 skin, compressibility of reservoir fluids, saturation pressure, drainage area,

                 amount of hydrocarbons initially in the reservoir, and the depletion of

                 hydrocarbons and the effect on pressure.

             d. Any and all documents, data, information, and/or communications related to

                 reports, preliminary reports, and/or drafts of reports related to MC252, including

                 without limitation:

                     i.   Any and all reports (preliminary or final), drafts of reports, or drafts of

                          reports marked for correction related to MC252.

                    ii. Any and all documents and/or communications regarding any basis for

                          using or citing sources referenced in any report, preliminary report, and/or

                          drafts of reports related to MC252.

                    iii. Any and all documents, data, and/or communications used to calculate,

                          support, review, compare, analyze, confirm, measure, or otherwise



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                        evaluate any and all conclusions and determinations in any report,

                        preliminary report, and/or drafts of reports related to MC252.

                    iv. Any and all communications regarding reports (final or preliminary),

                        drafts of reports, or drafts of reports marked for correction related to

                        MC252.

             e. Any and all communications amongst you and/or your employees, contractors,

                 staff, or agents related to MC252.

             f. Any and all maps related to MC252.

             g. Any and all documents, data, information, and/or communications related to any

                 calculations, estimations, or analysis of the MC252 hydrocarbon reservoir, flow

                 of oil or other substances through the MC252 well, fluids discharged from the

                 MC252 wellhead, fluids contained in the MC252 hydrocarbon reservoir, or any

                 other aspect of MC252.

             h. Any and all documents, data, information, and/or communications related to

                 pressure changes that occurred as oil or any other substance flowed through the

                 MC252 Well.

    2. All documents referring or relating to the physical or chemical properties of oil or any

         other substance discharged from the wellhead of the MC252 Well.

    3. All documents referring or relating to predictions, estimates or measurements of the

         amounts of oil or any other substance discharged from the wellhead of the MC252 Well.

    4. Any and all documents, data, information, and/or communications referring or relating to

         the geometry of the MC252 Well (e.g., from the bottomhole to the wellhead) and any

         changes to the geometry of the MC252 Well from the time of the Incident until the



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         MC252 Well was shut-in; the geometry of the BOP/LMRP and any changes to the

         geometry of the BOP/LMRP from the time of the Incident until the MC252 Well was

         shut-in; and the geometry of the riser and any changes to the geometry of the riser before

         it was removed on June 3, 2010.

     5. Any and all documents, including but not limited to any underlying data and

         communications by, among, or involving you, your employees, contractors, or agents and

         the United States, referring or relating to the flow path of hydrocarbons in the MC252

         Well, the riser, and the BOP/LMRP, including but not limited to all documents referring

         or relating to the effect of changes in geometry of the MC252 Well, the riser, and the

         BOP/LMRP, and possible obstructions to the flow of hydrocarbons in the bottomhole, the

         wellbore, the riser, and the BOP/LMRP.

    6. Any and all documents or communications referring or relating to hypotheses or

         judgments made about any reservoir pressure changes, including any such pressure

         changes resulting from well draw-down or well skin.

    7. Any and all data related to MC252 provided to you by the United States, including

         without limitation bottomhole pressure transient data, the wellbore schematic listing all

         critical dimensions and depths, flow assurance, wax, and asphaltene analyses,

         geochemical analysis, mud log and CMR analysis, and raw log data.

    8. Any and all data provided to you by the United States relating to any well that was

         considered to be an analog well by the Flow Rate Technical Group, including without

         limitation bottomhole pressure transient data, the wellbore schematic listing all critical

         dimensions and depths, flow assurance, wax, and asphaltene analyses, geochemical

         analysis, mud log and CMR analysis and raw log data.



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     9. Any and all documents related to any efforts to determine the volume of oil spilled or the

         flow rate of oil spilled from the MC252 Well, including but not limited to calculations of

         volumes of oil spilled and the flow rate at which oil was spilled from the MC252 Well.




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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Eastern District of Louisiana

IN RE: OIL SPILL by the OIL RIG
"DEEPWATER HORIZON" in the
GULF OF MEXICO on APRIL 20, 2010                                                       Civil Action No. MDL 2179

                                                                                       (If the action is pending in another district, state where:



                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To: R.G. Hughes and Associates, L.L.C.
       5541 Duncan Kenner Drive, Baton Rouge, LA 70820
      94 Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
 one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
 about the following matters, or those set forth in an attachment:
 See Exhibit A

  Place: Liskow & Lewis, attn: Don Haycraft                                             Date and Time:
            701 Poydras Street, Suite 5000                                                                   08/14/2012 8:30 am
            New Orleans, LA 70139

           The deposition will be recorded by this method: Stenographic and Audio-Visual

         0 Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
           material:




         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.

 Date:
                                    CLERK OF COURT
                                                                                           OR

                                            Signature of Clerk or Deputy Clerk                                       Attorney's signature

 The name, address, e-mail, and telephone number of the attorney representing (name of party)        BP Production &
 Exploration, Inc. and BP America Production Company                      , who issues or requests this subpoena, are:
Robert R. Gasaway, Kirkland & Ellis LLP, 655 Fifteenth Street, NW, Washington, DC 20005
rgasaway@kirkland.com
(202) 879-5000
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AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. MDL 2179

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 5.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)

          [D I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                  ; or

          [71 I returned the subpoena unexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of


My fees are $                                      for travel and $                   for services, for a total of $   0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                        Server's signature



                                                                                      Printed name and title




                                                                                         Server's address

Additional information regarding attempted service, etc:
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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
 (c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                        (1) Producing Documents or Electronica4v Stored Information.
 attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
 reasonable steps to avoid imposing undue burden or expense on a                   stored information:
 person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
 duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
 earnings and reasonable attorney's fees — on a party or attorney                  course of business or must organize and label them to correspond to
 who fails to comply.                                                              the categories in the demand.
    (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
    (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
 documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                  (C) Electronicalo, Stored Information Produced in Only One
    (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                             burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving               order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and             (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifting a Subpoena.                                           protection as trial-preparation material must:
    (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                  (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
    (B) When Permitted. To protect a person subject to or affected by             reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur         subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
    (C) Speci&ing Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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EXHIBIT A TO "SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION"
                                            DEFINITIONS


         As used in the list of topics contained in this notice, the following terms (whether or not

capitalized in the list of topics) shall have the meaning as set forth below:

         1. "United States" shall mean the United States of America, including its departments,

         agencies, and instrumentalities, any employees, agents or assigns of these departments,

         agencies, and instrumentalities.

         2. "Flow Rate Technical Group" or "FRTG," shall mean the group established on

         May 19, 2010 by Admiral Thad Allen, National Incident Commander, for the purpose of

         estimating the rate of hydrocarbon flow from the MC252 Well.

         3. "Model" means any analysis including computer software or any computer aided

         simulation used to estimate, analyze, calculate, or otherwise evaluate the performance of

         a hydrocarbon reservoir, any characteristics of a hydrocarbon reservoir, the size, shape, or

         placement of a hydrocarbon reservoir, flow rate of hydrocarbons or other substances from

         a hydrocarbon reservoir, pressure or pressure changes in a hydrocarbon reservoir,

         pressure within a hydrocarbon producing system, hydrocarbon reservoir depletion, and/or

         flow of oil or other substances through a well, pipe system, or other hydrocarbon

         production system. These include models created by computer modeling programs such

         as Eclipse, PETREL, GAP, VIP, OLGA, Pipesim, PIE, MBAL, Reveal, or Prosper.

         4. "Document" means any record, communication, or memorialization of any kind on

         any medium, electronic or hardcopy, including printed, typewritten or handwritten matter

         of whatever character, including without limitation the original and each non-identical

         copy of each and any writing, memorandum, letter, e-mail, correspondence, telegram,

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         note, minutes, contract, agreement, interoffice and intra-office communications,

         procedure, pamphlet, diary, record or note of telephone conversation, chart, schedule,

         entry, print representation, record, report, photograph, and any tangible item or thing of

         written, readable, graphic, audible, or visual material.

         5. "Communication" shall mean and include any transmission or exchange of any

         information, whether orally or in writing, including without limitation any conversation

         or discussion by means of letter, note, memorandum, interoffice correspondence,

         telephone, electronic mail, telegraph, telex, telecopies, cable communicating data

         processors, or some other electronic or other medium.

         6. "Usable form" means a form that allows the data to be evaluated, manipulated,

         calculated, or further processed without the use of additional code, programming, or

         metadata, and which includes any and all necessary glossaries, keys, and indices for

         interpretation of the material.

         7. "MC252" refers to Mississippi Canyon Block 252, also known as the Macondo

         Prospect, in the Gulf of Mexico.

         8. "Relating to" or "related to," when referring to any given subject matter, shall mean

         any document that constitutes, comprises, involves, contains, embodies, reflects,

         identifies, states, mentions, alludes to, refers directly or indirectly to, or is in any way

         relevant to the particular subject matter identified.

         9. "MC252 Well" shall mean the exploratory well that was being drilled by the

         Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer

         continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

         Orleans, Louisiana.



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          10. "MC252 Hydrocarbon Reservoir" shall mean the hydrocarbon bearing zones that

         were penetrated by the exploratory well that was being drilled by the Deepwater Horizon

         in the Macondo prospect of Mississippi Canyon 252 in the outer continental shelf of the

         Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

          11. "Analog well" means a well considered by you or anyone within the Flow Rate

         Technical Group to be an analog to MC252, information about which was used by you

         or provided to you by the United States or anyone else.

         12. "You" and "Your" refer to R.G. Hughes and Associates, L.L.C., and any of its

         officers, employees, contractors, fellows, researchers, analysts, other assistants, and

         agents.

                                    SUBJECTS FOR TESTIMONY

     1. Your work for the United States and/or the Flow Rate Technical Group regarding

         MC252.

    2. Your knowledge of and involvement in acquiring, processing, and/or analyzing data

         regarding the flow of hydrocarbons from the MC252 Well.

    3. Your knowledge of the persons or entities acquiring, processing, and/or analyzing the

         flow of hydrocarbons from the MC252 Well.

    4. Your analysis and conclusions regarding the flow of hydrocarbons from the MC252

         Well.

    5. Your analysis of the chemical composition, viscosity, compressibility, formation volume

         factor, gas/oil ratio ("GOR"), saturation pressure, and density of the fluid in, or

         discharged from, the MC252 Hydrocarbon Reservoir.




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    6. Your analysis of the geophysical, geological, and petrophysical properties of the MC252

         Hydrocarbon Reservoir.

    7. Your analysis of the pressure of the MC252 Well, including the pressure in the MC252

         Hydrocarbon Reservoir, the pressure in the wellbore, the pressure at the wellhead, the

         pressure in the blowout preventer, and the pressure in the capping stack.

    8. Your analysis of the flow path of hydrocarbons discharged from the MC252 Well.

    9. Any well that you considered, or were asked to consider, as an analog well to the MC252

         Well, including the reasons why it was considered an analog well and the purposes for

         which that analog was used.

     10.Your communications with the United States, any United States employee, any national

         laboratory or any of its employees, or anyone affiliated or working with the Flow Rate

         Technical Group related to MC252.

    11.Your receipt of financial or other compensation from any source for your role in

         acquiring, processing, and/or analyzing the flow of hydrocarbons from the MC252 Well.




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                 Attachment G
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Harvey, Judy (ENRD)
From:                       Prieto, Jeffrey (ENRD)
Sent:                       Monday, June 11, 2012 7:53 PM
To:                         Beffa, Darin T.; DeSantis, Karen McCartan
Cc:                         Harvey, Judy (ENRD); Chakeres, Aristide (ENRD); Himmelhoch, Sarah (ENRD); Cernich,
                            Scott (ENRD)
Subject:                    RE: 30(b)(6) Briefing Schedule


Dear Ms. DeSantis and Mr. Beffa,

It was a pleasure to chat with you today.

We appreciate your proposed schedule of:
    U.S. Brief: June 15
    BP Opposition: June 18
    U.S. Reply: June 22

We propose:
    U.S. Brief: June 15
    BP Opposition: June 21
    U.S. Reply: June 26

We respectfully decline your offer to drop the deposition notice to Columbia University in exchange for the United
States not opposing the additional six notices.

Please feel free to contact me if you believe we need to set up a call.

Best,

Jeff

Jeffrey M. Prieto
Counsel
Office of the Assistant Attorney General
Environment and Natural Resources Division
United States Department of Justice
P.O. Box 7415
Ben Franklin Station
Washington, DC 20044-7415
Phone: 202-616-7915

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From: Prieto, Jeffrey (ENRD)
Sent: Monday, June 11, 2012 8:15 AM
To: 'Eisert, Joseph A.'; Cernich, Scott (ENRD)
Cc: Harvey, Judy (ENRD); Chakeres, Aristide (ENRD); Himmelhoch, Sarah (ENRD); Langan, Andrew; Beffa, Darin T.;
DeSantis, Karen McCartan; Gasaway, Robert R.
Subject: RE: 30(b)(6) Briefing Schedule
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Hi all,

We can use dial‐in number, 866.410.9426 and code, 2026167915.

Best,

Jeff

Jeffrey M. Prieto
Counsel
Office of the Assistant Attorney General
Environment and Natural Resources Division
United States Department of Justice
P.O. Box 7415
Ben Franklin Station
Washington, DC 20044-7415
Phone: 202-616-7915

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From: Eisert, Joseph A. [mailto:jeisert@kirkland.com]
Sent: Friday, June 08, 2012 1:38 PM
To: Prieto, Jeffrey (ENRD); Cernich, Scott (ENRD)
Cc: Harvey, Judy (ENRD); Chakeres, Aristide (ENRD); Himmelhoch, Sarah (ENRD); Langan, Andrew; Beffa, Darin T.;
DeSantis, Karen McCartan; Gasaway, Robert R.
Subject: RE: 30(b)(6) Briefing Schedule

Jeff, Scott‐‐

Can you discuss the schedule and the subpoenas today at 3:30 PM Eastern or later, or Monday between 11 AM and 2
PM Eastern?

Joe

Joseph A. Eisert | Kirkland & Ellis LLP
655 Fifteenth Street, N.W. Suite 1200 | WASHINGTON, DC 20005 | (202) 879-5136 DIRECT | (202) 879-5200 FAX |
joseph.eisert@kirkland.com

From: Prieto, Jeffrey (ENRD) [mailto:Jeffrey.Prieto@usdoj.gov]
Sent: Thursday, June 07, 2012 10:11 PM
To: Gasaway, Robert R.; Beffa, Darin T.; DeSantis, Karen McCartan
Cc: Harvey, Judy (ENRD); Cernich, Scott (ENRD); Chakeres, Aristide (ENRD); Sarah.Himmelhoch@usdoj.gov; Eisert,
Joseph A.; Langan, Andrew
Subject: Re: 30(b)(6) Briefing Schedule

Dear Mr. Gasaway,

We are open to discussing dates. We look forward to considering your proposed opposition and reply alternatives.

Best,

                                                             2
           Case 2:10-md-02179-CJB-DPC Document 6721-1 Filed 06/18/12 Page 115 of 142
Jeff

Sent Using U.S. DOJ/ENRD BES 5 Server

From: Gasaway, Robert R. [mailto:rgasaway@kirkland.com]
Sent: Thursday, June 07, 2012 09:51 PM
To: Prieto, Jeffrey (ENRD); Beffa, Darin T. <dbeffa@kirkland.com>; DeSantis, Karen McCartan
<kdesantis@kirkland.com>
Cc: Harvey, Judy (ENRD); Cernich, Scott (ENRD); Chakeres, Aristide (ENRD); Himmelhoch, Sarah (ENRD); Eisert, Joseph
A. <jeisert@kirkland.com>; Langan, Andrew <alangan@kirkland.com>
Subject: Re: 30(b)(6) Briefing Schedule

Dear Mr. Prieto, four days for BP's opposition and five for USA's reply??

From: Prieto, Jeffrey (ENRD) [mailto:Jeffrey.Prieto@usdoj.gov]
Sent: Thursday, June 07, 2012 07:57 PM
To: Beffa, Darin T.; DeSantis, Karen McCartan
Cc: Harvey, Judy (ENRD) <Judith.Harvey@usdoj.gov>; Cernich, Scott (ENRD) <Scott.Cernich@usdoj.gov>; Chakeres,
Aristide (ENRD) <Aristide.Chakeres@usdoj.gov>; Sarah.Himmelhoch@usdoj.gov; Gasaway, Robert R.; Eisert, Joseph A.
Subject: 30(b)(6) Briefing Schedule

Dear Ms. DeSantis and Mr. Beffa,

As we discussed during yesterday’s call, the United States proposes the following briefing schedule:

          U.S. Brief: June 18
          BP Opposition: June 22
          U.S. Reply: June 27

Please don’t hesitate to contact me (202.616.7915) or Judy Harvey (202.514.3932) if you wish to set up a call to discuss
this matter.

Regards,

Jeff Prieto

***********************************************************
IRS Circular 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we inform you that any tax
advice contained in this communication (including any attachments) was not intended or written to be used, and cannot be
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e-mail to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all attachments.
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IRS Circular 230 Disclosure:
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advice contained in this communication (including any attachments) was not intended or written to be used, and cannot be
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promoting, marketing or recommending to another party any tax-related matters addressed herein.
                                                              3
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e-mail to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all attachments.
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                 Attachment H
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Harvey, Judy (ENRD)
From:                        DeSantis, Karen McCartan [kdesantis@kirkland.com]
Sent:                        Friday, June 15, 2012 6:38 PM
To:                          Prieto, Jeffrey (ENRD); Cernich, Scott (ENRD)
Cc:                          Himmelhoch, Sarah (ENRD); Harvey, Judy (ENRD); Eisert, Joseph A.; Chakeres, Aristide
                             (ENRD); Gasaway, Robert R.; Nomellini, Mark J.; Petrino, Michael A.; Pixton, Allan; Beffa,
                             Darin T.; Posteraro, Julie; Benson, Thomas (ENRD); Engel, Bethany (ENRD)
Subject:                     RE:Subpoenas: Columbia University


Jeff and Scott,

I am writing to advise that BP does not intend to serve Columbia University with a subpoena regarding the work of
Professor Crone at this time. Subpoenas to six entities, then, are at issue in our briefing regarding subpoenas.

Thanks,
Karen

***********************************************************
IRS Circular 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we inform you that any tax
advice contained in this communication (including any attachments) was not intended or written to be used, and cannot be
used, by any taxpayer for the purpose of (1) avoiding tax-related penalties under the U.S. Internal Revenue Code or (2)
promoting, marketing or recommending to another party any tax-related matters addressed herein.

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and may be unlawful. If you have received this communication in error, please notify us immediately by return e-mail or by
e-mail to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all attachments.
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                  Attachment I
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                                                                             DRAFT
                                                                                         Draft by Counsel for Discussion Purposes Only
                                                                                                   Not Reviewed or Approved by Client

           SOURCE CONTROL AND                          QUANTIFICATION DEPONENT SHORT LIST 1

   1       Allen, Thad                     USCG                                           Admiral
   2       Ammerman, Curtt                 U.S. Government                                Lab Scientist; Applied Engineering
                                                                                          Technology 1 (AET-1) Principal
                                                                                          investigator; Intelligent Wind Turbines
                                                                                          Mentor, Los Alamos National
                                                                                          Laboratories
   3       Barnett, David                 Wild Well Control                               VP   Engineering
           Bickel, Thomas C.               U.S. Government                                Director of Engineering Sciences,
                                                                                          Sandia National Laboratory (SNL)
           Black, Steven                   U.S. Government                                AET-DO Engineering Standards
                                                                                          Board, LANL
           Blankenship, Doug               U.S. Government                                Manager Geothermal Energy &
                                                                                          Drilling Technology, SNL
           Boomer, Paul                    University of Texas at Austin                  Senior Lecturer, Petroleum and
                                                                                          Geosystems
           Borns, David                    U.S. Government                                Manager- Geotechnology and
                                                                                          Engineering Department, SNL
   9       Bowen, Andy                     Woods Hole Oceanographic
                                           Institution
  10       Brannon, Richard                U.S. Government                                Post Incident Response
  11       Bristol, Sky                    U.S. Government                                Post Incident Response
  12       Browner, Carol                  U.S. Government                                Director, White House Office of Energy
                                                                                          and Climate Change Policy
  13       Bullman, Jack                   U.S. Government                                Director of the Spacecraft and Vehicle
                                                                                          Systems Department, Engineering
                                                                                          Directorate at NASA
  14       Burns, Mike                     U.S. Government Los Alamos                     Deputy Associate Director for Global
                                           National Laboratory, Department of             Security, LANL
                                           Energy
  15       Camilli, Richard                Woods Hole Oceanographic                       Post Incident Response
                                           Institution
  16       Chu, Steven                     United States Department of                    Secretary of Energy
                                           Energy
  17       Cook, Kevin                     U.S. Government                                USCG      Admiral; RADM, Director of
                                                                                          Prevention Policy
  18       Cooper, George A.               U.S. Government; UC Berkeley,                  DOE Science Team; senior petroleum
                                           Lawrence Berkeley National                     engineer
                                           Laboratory

       BP reserves the right to modify this preliminary list, which is based on discovery to date and the current status of BP's
       knowledge, understanding, and belief.

K&E 19565740.5
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  19     Crone, Timothy          Lamont-Doherty Earth                Lamont Assistant Research Professor
                                 Observatory, Columbia University
  20     Dean, Michael           United States Government           U.S. Navy Chief Engineer
  21     Domangue, Bryan         BOEMRE                             Houma District Manager
  22     Dudek, Charles          U.S. Government                    Member of Marine Safety Unit, Coast
                                                                    Guard Reserve
  23     Dykhuizen, Ronald C.    Sandia National Laboratories,      Engineer- Fluid and Thermal
                                 Department of Energy               Sciences SNL
  24     Flores, Oscar           U.S. Government                    Department of Mechanical Engineering
                                                                    at University of Washington; Board
                                                                    Member, Audit Committee

  25     Garwin, Richard         U.S. Government                    IBM Fellow (emeritus); DOE Science
         Lawrence                                                   Team
  26     Gibbs, Scott W.         Los Alamos National Laboratory,    National Labs Scientist
                                 Department of Energy
  27     Griffiths, Stewart K.   Sandia National Laboratories,       National Labs Scientist
                                 Department of Energy
  28     Guffee, Ray M.          U.S. Government                    AET-1      Engineering Standards Board,
                                                                    LANL
  29     Hayes, David            U.S. Department of the Interior    Deputy Secretary of the Interior
  30     Henry, Charlie          NOAA, Department of Commerce       Lead Scientific Support Coordinator for
                                                                    the DWH Spill, Acting Director of
                                                                    NOAA's GOM Disaster Response
                                                                     Center
  31     Herbst, Lars            BOEMRE                             Regional Director for the Gulf of
                                                                    Mexico Region
  32     Hoshman, Russell        U.S. Government                    Federal Mining Petroleum Engineering,
                                                                    BOEMRE
  33     Hsieh, Paul             USGS                               Scientist
  34     Hunter, Tom             U.S. Government                    Former Sandia Laboratory Director
  35     Jackson, Lisa           U.S. Government                    Administrator, EPA
  36     Keenan, Patrick         U.S. Navy                           Captain
  37     Kelkar, Dr. M.          University of Tulsa
  38     Landry, Mary            USCG                                Rear Admiral, USCG,
  39     Lasheras, Juan          U.S. Government; University of      Professor of Engineering and Applied
                                 California San Diego                Sciences, University of California San
                                                                     Diego
  40     Lehr, Bill              NOAA, Department of Commerce        NOAA; Senior Scientist, Office of
                                                                     Response and Restoration, National
                                                                     Ocean Service
  41     Leifer, Ira             U.S. Government                     Post Incident Response; Assoc.
                                                                     Researcher, Marine Science Institute,
                                                                     University of California Santa Barbara

                                                       2
K&E 19565740.5
           Case 2:10-md-02179-CJB-DPC Document 6721-1 Filed 06/18/12 Page 122 of 1428/25/2011
                                                                           DRAFT
                                                                     Draft by Counsel for Discussion Purposes Only
                                                                               Not Reviewed or Approved by Client



  42     Levine, Ed            NOAA, Department of Commerce
  43     Linegar, Kirt         U.S. Government                       U.S. Coast Guard Lieutenant
  44     Lubchenco, Jane       NOAA, Department     of Commerce      NOAA Administrator; Under Secretary
                                                                     of Commerce for Oceans and
                                                                     Atmosphere
  45     McMahon, Larry        Transocean                            Vice President
  46     McNutt, Marcia        USGS, DOI                             Director, U.S. Geological    Survey
                                                                      (USGS)
  47     Miller, Mark          NOAA, Department of Commerce          Technical Professional- Real Time
                                                                     Operations; NOAA
  48     Napolitano, Janet     U.S. Government                       Secretary, Department of Homeland
                                                                      Security
  49     Neffenger, Peter V.   U.S. Government                        Rear Admiral, Commander of the Ninth
                                                                      Coast Guard District
  50     Odom, Michael         USCG                                   Lieutenant Commander
  51     Paradis, Scott        U.S. Government                        Captain, USCG; Federal On-Scene
                                                                      Coordinator (FOSC)
  52     Possolo, Antonio      National Institute of Standards and    Chief, Statistical Engineering Division;
                               Technology (NIST)                      National Institute of Standards and
                                                                     Technology- Post Incident Response
  53     Qualkebush, Darin     U.S. Government                        National Technical Advisor, OCS
                                                                      National Center of Expertise, USCG
  54     Ratzel, Arthur C.     Sandia National Laboratories,          Director, Engineering Sciences Center,
                               Department of Energy                   SNL Post Incident Response
  55     Rees Jr., William     U.S. Government Los Alamos             Deputy Under Secretary of Defense
                               National Laboratory, Department of
                               Energy
  56     Salazar, Ken          U.S. Department of the Interior        Secretary of the Interior
  57     Savas, Omar           University of California Berkeley      Professor of Mechanical Engineering
  58     Shepard, Mark         USCG                                   Lieutenant Commander
  59     Slocum, Alexander     U.S. Government                        Professor of Mechanical Engineering
                                                                      at MIT; Director of The Precision
                                                                      Engineering Group at MIT
  60     Sogge, Mark           USGS, Department of the Interior       Chief of Staff, US Geological Survey
                                                                      (Deputy Lead) Post Incident
                                                                      Response
  61     Tatro, Majorie        U.S. Government                        Director of the Energy and
                                                                      Transportation Security Center, SNL
  62     Tieszen, Sheldon R.   Sandia National Laboratories,          Fire Sciences & Technologies
                               Department of Energy                   Department, SNL
  63     Tolstoy, Maya         Lamont-Doherty Earth
                               Observatory, Columbia University



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                                                                           DRAFT
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                                                                              Not Reviewed or Approved by Client



         Trocquet, David            BOEMRE                           District Manager for the MMS New
                                                                     Orleans District Office, Field
                                                                    Operations
  65     Trosclair, Troy            BOEMRE                          Deputy Regional Supervisor for District
                                                                    Operations
  66     Wapman, Derek              U.S. Government                 Weapon Engineering, LLNL
  67     Watson, James              USCG                            Rear Admiral/FOSC Coordinator
  68     Wereley, Steve             R&B Falcon; Purdue University   Associate Professor of Mechanical
                                                                    Engineering, Purdue University Post
                                                                    Incident Response
  69     Wright, Rusty              BOEMRE                          Regional Administrator, Gulf of Mexico,
                                                                    BOEMRE Oil Spill Program
  70     Anadarko 30(b)(6) on
         Source Control and
         Quantification issues.
  71     BP 30(b)(6) on Source
         Control and
         Quantification issues
         (to the extent either is
         not already covered).
  72     Cameron 30(b)(6) on
         Source Control and
         Quantification issues.
  73     Cudd Well Control
         30(b)(6) on Source
         Control and
         Quantification issues.
  74     ExxonMobil 30(b)(6)
         on   Quantification
         issues, including the
         application of subsea
         dispersants.
  75     Halliburton 30(b)(6) on
         Source Control and
         Quantification issues.
  76     Transocean 30(b)(6)
         on Source Control and
         Quantification issues.
  77     U.S. Government            U.S. Government
         30(b)(6) on Source
         Control and
         Quantification issues.




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                  Attachment J
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“                                                  U.S. Department of Justice
                                                   Environment and Natural Resource Division


                                                    P.O. Box 7611
                                                    Washington, DC 20044
                                                    202-514-0056
                                                    Scott.Cernich@usdoj.gov


                                                    May 18, 2012

BY ELECTRONIC MAIL

The Honorable Sally Shushan
United States Magistrate Judge
United States District Court for the
Eastern District of Louisiana
Hale Boggs Federal Building
United States Courthouse
500 Poydras Street
New Orleans, LA 70130

       Re:     MDL 2179: Third Party 30(b)(6) Topics

Dear Judge Shushan:
         At this morning’s Working Group Conference, BP proposed three additional non-party
30(b)(6) depositions: Kelkar & Associates (“Kelkar”), Gemini Solutions (“Gemini”), and R.G.
Hughes and Associates (“Hughes”). The United States objects to BP’s proposal as untimely and
duplicative of topics already contained in BP’s 30(b)(6) notice to the United States. Kelkar,
Gemini, and Hughes were members of the National Incident Command’s Flow Rate Technical
Group (“FRTG”) Reservoir Subteam, one of several subteams performing work as part of the
FRTG. Topics 44-52 of BP’s 30(b)(6) notice to the United States calls for extensive information
regarding the FRTG and its analyses, including the work of the Reservoir Subteam. The United
States has produced to BP the files of Kelkar, Gemini, and Hughes and will present witnesses to
testify regarding the work of the FRTG generally and the Reservoir Team specifically.

        The United States proposed depositions of three non-parties is a wholly different
situation. As you know, the United States first proposed 30(b)(6) depositions of Intertek,
Isotech, and World Oilfield Machine, Inc. (“WOM”) at the March 30, 2012 Working Group
Conference. It was only after BP’s Phase II document productions that we learned that these
non-parties were performing work or supplying services or materials relevant to Quantification.


                                           Page 1 of 3
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In stark contrast, BP learned of the Kelkar, Gemini, and Hughes FRTG work, at the very latest,
over a year ago, when the FRTG’s final report was released on March 10, 2011. The United
States is concerned that BP’s proposed additional depositions will set a precedent for further
late-noticed 30(b)(6) depositions, including 30(b)(6) depositions of every FRTG member who is
not employed by the United States, of which there are at least a dozen if BP intends to drill down
to depose the scientists on each subteam.

        While the United States has begun discussions with Intertek, Isotech, and WOM
regarding 30(b)(6) deposition notices and document productions, we would be more than happy
to limit or avoid these depositions if possible. The topics contained in the proposed notices are
discrete and straightforward.

        Intertek and Isotech provided laboratory testing for BP on samples from the Macondo
well. The United States interest is quite simple – Do we have all of the data, including all testing
results? How were the samples tested? What happened to the samples after testing? Were the
tests conducted in a manner consistent with Intertek’s and Isotech’s standard methods and
practices? Are the data valid and reliable? Can the relevant documents be authenticated?

        WOM is an oilfield equipment company that supplied the dual gate valves installed on
the Capping Stack and may have supplied identical equipment to BP for flow testing after the
well was killed. BP has professed to not be able to locate engineering drawings of these valves –
the subject of so much measuring and scanning at the NASA Michoud facility.1 Further, BP has
asserted attorney-client privilege and work product protection over communications with WOM
employee Richard Lemke. See PRIV-BP-HZN-2179MDL00019706; PRIV-BP-HZN-
2179MDL00019779. The United States does not believe such communications are privileged or
protected. Our interest is limited. The United States would like WOM to provide us with
engineering drawings and product information for the dual gate valves,2 confirm that WOM’s
equipment is manufactured according to WOM’s specifications, provide us with all
communications with BP or any other party, and all documents, related to WOM’s involvement
with the Macondo well pre- or post-shut-in (which we believe is limited to supplying equipment
and documentation), and authenticate its documents.


1
  BP also has professed not to have reliable engineering drawings or schematics for the Capping Stack generally.
This is the Capping Stack that BP proposed to the United States government, and in fact used, to shut in the
Macondo well on July 15, 2010. Indeed, BP has claimed attorney-client privilege or work product protection over
44 documents on its Good Faith Quantification list described by BP as “Engineering Drawings/Schematics.” Due to
the opaque descriptions in BP’s privilege logs, it is impossible for the United States to adduce whether all or any of
those documents are related to the WOM valves or the Capping Stack.
2
 The United States is surprised that BP did not obtain this information prior to installing the valves on the Capping
Stack.


                                                     Page 2 of 3
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         The United States appreciates your consideration of this matter and respectfully suggests
that it is inappropriate to allow the additional 30(b)(6) depositions proposed by BP.

                                                             Respectfully submitted,

                                                             /s/ Scott M. Cernich
                                                             Scott M. Cernich

cc:    Liaison & Coordinating Counsel
       Robert Gasaway




                                            Page 3 of 3
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                 Attachment K
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                                                                                                               43393470



                              UNITED STATES DISTRICT COURT                                                 Mar 30 2012
                              EASTERN DISTRICT OF LOUISIANA                                                 11:34AM



                                      :
In re: Oil Spill by the Oil Rig “Deepwater                         MDL No. 2179
                                      :
       Horizon” in the Gulf of Mexico, on
       April 20, 2010                 :                            SECTION: J
                                      :
This Document Relates To: All Actions :                            JUDGE BARBIER
                                      :                            MAGISTRATE JUDGE
…………………………………………………... :                                           SHUSHAN

               AGREED 30(b)(6) DEPOSITION NOTICE OF THE UNITED STATES

          By agreement of Plaintiffs’ Liaison Counsel, Defense Liaison Counsel, Coordinating

Counsel for the States, and Coordinating Counsel for the U.S., the U.S. shall, pursuant to Rule

30(b)(6) of the Federal Rules of Civil Procedure and Pre-Trial Order No. 17 (as supplemented

and amended by Pre-Trial Order 27), designate and produce one or more officers, managers,

agents, employees, or other representatives of the U.S. to discuss the Areas of Inquiry identified

below. The times and locations of the depositions will be scheduled in conjunction with the

designees’ fact depositions in their individual capacities, or otherwise as may be scheduled with

Judge Shushan and the parties.

                                            DEFINITIONS

          As used in the list of topics contained in this notice, the following terms are defined as set

forth below:

        1.     “Source Control Efforts” has the same meaning as “Source Control” in the
Definitions contained in the United States’ Initial Response to BP Exploration and Production
Company’s First Set of Discovery Requests served on May 19, 2011.

        2.     “Unified Command” means all personnel and functions of the “Unified Area
Command” and the “Incident Command Post” at Houston, Texas, as the terms “Unified Area
Command” and “Incident Command Post” are used in the report to the National Response Team
entitled, “On Scene Coordinator Report -- Deepwater Horizon Oil Spill” and dated September
2011 (the “OSC Report”).

          3.      “National Incident Commander” has the same meaning as when used in the OSC
Report.
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       4.     “MC 252 Well” means the exploratory well drilled in Block 252 of the
Mississippi Canyon.

        5.       “Junk Shot” means the operation by which bridging material was injected into
the Deepwater Horizon blow-out preventer either from the surface or through a subsea manifold
as part of the Top Kill operations.

        6.    “Top Hat” means the mechanical device used to collect hydrocarbons from the
top of the Lower Marine Riser Package up to the Discover Enterprise after the riser was cut off
in June 2010.

       7.     “Top Kill” means the operations comprised of the Momentum Kill and Junk Shot
attempted in May 2010 as a means to kill the MC 252 Well.

       8.      “Momentum Kill” means the operation by which drilling fluid was pumped into
the Deepwater Horizon blow-out preventer at a high rate of speed in an attempt to overcome the
flow of hydrocarbons as part of the Top Kill operations.

     9.     Static Kill” means the operation by which drilling fluid was pumped into the
Deepwater Horizon blow-out preventer after the well had been closed in.

       10.      “Erosion” means the gradual degradation, deterioration, or destruction of surface
material caused by the mechanical action of, for example, the flow of fluids and/or other
materials, including but not limited to hydrocarbons.


                                    AREAS OF INQUIRY

       A. Source Control

      1.      Your review and approval of BP’s 2009 Regional Oil Spill Response Plan -- Gulf
of Mexico.

       2.      Your knowledge on or before April 20, 2010, of any requirements that Oil Spill
Response Plans, Exploration Plans, or any other regulatory submittal include provisions
regarding how to respond to subsea oil well blow-outs (including deepwater oil well blow-outs)
on the Outer Continental Shelf, by containing, capturing, controlling, capping or stopping the
flow of oil and gas from the well.

       3.       Other than blow-out preventers, your knowledge of the state of the art within the
industry as to any device, system, assembly, procedure or technology for response to subsea oil
well blow-outs (including deepwater oil well blow-outs) by containing, capturing, controlling,
capping or stopping the flow of oil and gas from the well.

       4.      The training of United States personnel, including but not limited to personnel of
the United States Coast Guard prior to April 20, 2010, to respond to, or to participate in a
response to, an offshore oil well blow-out relating to Source Control Efforts.
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        5.     Your knowledge of the Source Control elements of BP’s offshore oil spill
response programs, or emergency management training programs, for responses to offshore oil
well blowouts, between January 1, 2005 and April 20, 2010, including any audits or approvals of
such training programs.

       6.     Your knowledge of the role of and categories and types of actions taken by the
Unified Command, as created and implemented pursuant to the National Incident Management
System, in Source Control Efforts

         7.     Your knowledge of the role of and categories and types of actions taken by the
office of the National Incident Commander in Source Control Efforts, including, but not limited
to, the acquisition and distribution of information or data related to the Source Control efforts.

        8.      Your knowledge of the role and actions of any United States personnel or United
States contractors in Source Control Efforts that were not undertaken under the scope and
authority of the Unified Command or the National Incident Commander, e.g., as reflected on
such entity’s formal organizational chart.

       9.      Your knowledge of BP’s efforts to engage or include United States personnel or
United States contractors in Source Control Efforts.

       10.    Your knowledge of any omissions by BP to engage or include United State
personnel or United States contractors in Source Control Efforts.

       11.     Your knowledge of BP’s efforts to provide information to United States personnel
or United States contractors in connection with Source Control Efforts.

       12.    Your knowledge of any failure by BP to provide information to United States
personnel or United States contractors in connection with Source Control Efforts.

        13.    To the extent not otherwise addressed by these topics, your knowledge of and
involvement in the decision regarding whether or not to undertake a specific Source Control
Effort for which a proposal, evaluation or analysis had been developed

       14.     Your knowledge of and involvement in the sequencing of Source Control Efforts,
including the considerations or factors that accounted for the sequence of Source Control Efforts.

        15.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the efforts used to activate the Deepwater
Horizon blow-out preventer on or after April 20, 2010, through the use of remotely operated
vehicles (“ROVs”).

        16.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a pollution dome or cofferdam as a
means to capture oil and gas from the MC252 Well.
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        17.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a riser insertion tube tool as a means
to capture oil and gas from the MC252 Well.

        18.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a second blowout preventer as a
means to control or cease the flow of oil and gas from the MC252 Well.

        19.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a capping stack as a means to control
or cease the flow of oil and gas from the MC252 Well.

        20.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of Junk Shot(s) as a means to stop the
flow of oil and gas from the MC252 Well.

        21.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of Momentum Kill(s) as a means to stop
the flow of oil and gas from the MC252 Well.

        22.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of Top Kill as a means to stop the flow
of oil and gas from the MC252 Well.

        23.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a Top Hat as a means to capture oil
and gas from the MC252 Well.

        24.    Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of the choke or kill line of the
Deepwater Horizon blow-out preventer as a means to capture oil and gas from the MC252 Well.

        25.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of free standing risers and floating
production, storage and offloading vessels as a means to capture oil and gas from the MC252
Well.

        26.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of a Static Kill as a means to kill the
MC252 Well.

        27.     Your knowledge of and involvement in the identification, design, planning,
fabrication, testing, selection, and/or approval of the use of relief wells as a means to stop the
flow of oil and gas from the MC252 Well.

       28.     Your understanding of the path (or paths) through which hydrocarbons flowed
from the MC252 reservoir through and out of the MC252 Well between April 20, 2010, and July
15, 2010, including any information supporting that understanding.
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       29.      Your knowledge of and involvement with the selection, testing, monitoring,
approval, and use of subsea or surface dispersants at or in the area immediately above the
MC252 Well as those matters affected or relate to Source Control Efforts and any effort to
quantify the flow of hydrocarbons from the MC 252 Well.

       30.    Your knowledge of and involvement in the development and implementation of
simultaneous operations procedures or plans for vessels working in the immediate vicinity of the
MC 252 Well.

        31.     Your knowledge of any suggestion or proposal to utilize the Macondo wellbore or
either relief well for future production from MC 252.

       32.     Your knowledge of any delay in the drilling or either relief well due to the taking
of samples in the wellbore.

       33.    Your knowledge of the financial support, labor, equipment, facilities and other
resources devoted by BP to Source Control Efforts.

   B. Quantification

       Unified Command/Unified Area Command/Houston Incident Command

       34.     Your efforts (including all communications, modeling, calculations and analysis
of any kind) leading to the flow rate estimate of 1,000 bopd announced by Admiral Landry on
April 24, 2010.

       35.     Your efforts (including all communications, modeling, calculations and analysis
of any kind) leading to the flow rate estimate of 5,000 bopd announced by Admiral Landry on
April 28, 2010.

       36.     Your efforts (including all communications, modeling, calculations and analysis
of any kind) relating to all attempts to quantify the release of hydrocarbons from the Macondo
MC252 well after April 20, 2010, whether or not those efforts resulted in a finalized or public
estimate.

        37.      All communications, data, modeling, calculations and analysis relating to the
effect of restrictions on flow from the MC252 well, including flow path within the well, cement,
riser geometry, the BOP, or any other restriction, including the effect of removing or mitigating
any restriction (e.g., by erosion) or the development or existence of leak points.

        38.     All communications, data, modeling, calculations and analysis of the MC252
reservoir, including its geological formation, integrity, pressure, and composition (including the
composition of oil, natural gas and any other constituents or components of the reservoir) and the
effect of reservoir depletion on the flow of hydrocarbons from the MC252 well.

        39.  All communications, data, modeling, calculations and analysis relating to “skin”
within the MC252 reservoir.
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        40.     All communications, data, modeling, calculations and analysis relating to the
collection of hydrocarbons from the MC 252 well using the Riser Insertion Tool, including any
effect such information had on any estimate of flow rates.

        41.     All communications, data, modeling, calculations and analysis relating to the
effect of the flow of hydrocarbons from the MC252 well on any attempt or technique considered
to stop the flow of hydrocarbons from the well.

        42.     All communications, data, modeling, calculations and analysis identifying or
relating to factors affecting the ability to estimate the flow of hydrocarbons from the MC252
well or the accuracy of any such estimate.

       Flow Rate Technical Group (FRTG):

         43.     The organization and operation of the Flow Rate Technical Group (“FRTG”) and
all of its sub-teams, and the selection of their members and staff.

        44.     Any communications constituting directions, guidance, analysis, commentary or
influence) relating to the work of the FRTG or to flow, between the FRTG or any of its members
and any person in the Federal Interagency Solutions Group (FISG), Executive Office of the
President (EoP), Department of Energy (DoE), Department of the Interior (DoI), Environmental
Protection Agency (EPA), Department of Homeland Security (DHS) or Department of
Commerce (DoC), or anyone acting on their behalf.

        45.     The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the FRTG, any of its members, any of its sub-teams, or any of their
members, during the course of any work performed by the FRTG or any sub-team to quantify or
estimate the flow of hydrocarbons from the MC252 well, including velocimetry, nodal analysis,
reservoir analysis, hydraulics, acoustics, surface expression, mass balance, multiphase flow, and
gas/oil ratio (“GOR”).

        46.     All communications within or among the FRTG and its sub-teams regarding the
difficulty, quality, accuracy or uncertainties associated with its work to quantify or estimate the
flow of hydrocarbons from the MC252 well.

       47.    All communications involving the FRTG or any of its members regarding the
purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

       48.     Your efforts (including all communications, modeling, calculations and analysis
of any kind) leading to the May 27, 2010 flow rate estimate of 12,000 to 19,000 bopd.

       49.      Your efforts (including all communications, modeling, calculations and analysis
of any kind) relating to all attempts to quantify the release of hydrocarbons from the MC252 well
after April 20, 2010, whether or not those efforts resulted in a finalized or public estimate.

       50.    Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
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action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        51.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

       Department of Energy “Science Team”:

       52.     The organization and operation of the Department of Energy Science Team,
including the selection of its members and staff.

       53.    The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the Science Team or any of its members to quantify or estimate the
flow of hydrocarbons from the MC252 well.

        54.      All communications involving the Science Team or any of its members regarding
the difficulty, quality, accuracy or uncertainty associated with any attempt to quantify or estimate
the flow of hydrocarbons from the MC252 well.

       55.    All communications involving the Science Team or any of its members regarding
the purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         56.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        57.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

       58.   Your knowledge, consideration or analysis of the National Commission Chief
Counsel’s conclusion (2011 Report at 45) that “the interior of the BOP (through which
hydrocarbons definitely flowed) showed serious erosion, as did the interior of the casing
hanger.”

       59.     Your knowledge, consideration or analysis of the National Commission Chief
Counsel’s conclusion (2011 Report at 212) that “initial photos from the recovered BOP show
erosion in the side of the blowout preventer around the ram, which was a possible flow path for
hydrocarbons.”
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       Los Alamos National Lab (LANL):

     60.     The organization and operation of the LANL team, including the selection of its
members and staff.

       61.    The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the LANL team or any of its members to quantify or estimate the
flow of hydrocarbons from the MC252 well.

        62.      All communications involving the LANL team or any of its members regarding
the difficulty, quality, accuracy or uncertainty associated with any attempt to quantify or estimate
the flow of hydrocarbons from the MC252 well.

        63.    All communications between the LANL team or any of its members and any other
person regarding the flow rate work being undertaken by any other national laboratory or agency
of the Federal Government.

       64.    All communications involving the LANL team or any of its members regarding
the purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         65.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        66.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

       Lawrence Livermore National Lab (LLNL):

     67.     The organization and operation of the LLNL team, including the selection of its
members and staff.

       68.    The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the LLNL team or any of its members to quantify or estimate the
flow of hydrocarbons from the MC252 well.

        69.      All communications involving the LLNL team or any of its members regarding
the difficulty, quality, accuracy or uncertainty associated with any attempt to quantify or estimate
the flow of hydrocarbons from the MC252 well.

        70.    All communications between the LLNL team or any of its members and any other
person regarding the flow rate work being undertaken by any other national laboratory or agency
of the Federal Government.
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       71.    All communications involving the LLNL team or any of its members regarding
the purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         72.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        73.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

       Lawrence Berkeley National Lab (LBNL):

     74.     The organization and operation of the LBNL team, including the selection of its
members and staff.

       75.    The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the LBNL team or any of its members to quantify or estimate the
flow of hydrocarbons from the MC252 well.

       76.      All communications involving the LBNL team or any of its members regarding
the difficulty, quality, accuracy or uncertainties associated with any attempt to quantify or
estimate the flow of hydrocarbons from the MC252 well.

        77.    All communications between the LBNL team or any of its members and any other
person regarding the flow rate work being undertaken by any other national laboratory or agency
of the Federal Government.

       78.    All communications involving the LBNL team or any of its members regarding
the purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         79.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        80.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.
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       Sandia National Lab (SNL):

     81.     The organization and operation of the SNL team, including the selection of its
members and staff.

       82.     The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the SNL team or any of its members to quantify or estimate the flow
of hydrocarbons from the MC252 well.

        83.     All communications involving the SNL team or any of its members regarding the
difficulty, quality, accuracy or uncertainty associated with any attempt to quantify or estimate the
flow of hydrocarbons from the MC252 well.

        84.    All communications between the SNL team or any of its members and any other
person regarding the flow rate work being undertaken by any other national laboratory or agency
of the Federal Government.

       85.    All communications involving the SNL team or any of its members regarding the
purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         86.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        87.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

        88.   Preparation of the report “DOE-NNSA Flow Analysis Studies Associated with the
Oil Release following the Deepwater Horizon Accident, SAND2010-XXXX, Arthur C. Ratzel
III, Team Lead, Sandia National Laboratories, December 2010.

       Federal Interagency Solutions Group (FISG):

        89.    Preparation of the reports “McNutt, M, R. Camilli, G. Guthrie, P. Hsieh, V.
Labson, B. Lehr, D. Maclay, A. Ratzel, and M. Sogge. 2011; Assessment of Flow Rate Estimates
for the Deepwater Horizon / Macondo Well Oil Spill, Flow Rate Technical Group report to the
National Incident Command, Interagency Solutions Group, March 10, 2011” and “Oil Budget
Calculator, Deepwater Horizon, Technical Documentation, November 2010, A Report by the
Federal Interagency Solutions Group, Oil Budget Calculator Science and Engineering Team.”

       90.    All communication between the FISG or any of its members and any other person
regarding the flow rate work being undertaken by any national laboratory or agency of the
Federal Government.
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       91.    The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the FISG or any of its members to quantify or estimate the flow of
hydrocarbons from the MC252 well.

        92.     All communications involving the FISG or any of its members regarding the
difficulty, quality, accuracy or uncertainties associated with any attempt to quantify or estimate
the flow of hydrocarbons from the MC252 well.

       93.    All communications involving the FISG or any of its members regarding the
purpose or timing of any attempt to quantify or estimate the flow of hydrocarbons from the
MC252 well.

         94.   Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        95.    The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.

       Environmental Protection Agency (EPA):

        96.     Any communications constituting directions, guidance, analysis, commentary or
influence between the EPA and any person in the FRTG, FISG, Executive Office of the
President, Department of Energy, Department of the Interior, Department of Homeland Security
or Department of Commerce, or anyone acting on their behalf, regarding Source Control Efforts
or the quantification or estimation of hydrocarbons escaping from the MC252 well.

      97.     The EPA’s role and participation in the process of considering or determining the
amount or type of dispersants to be applied in connection with the release of hydrocarbons from
the MC252 Well, and the methods, calculations, analyses, estimates, factors, data and
assumptions considered or employed by the EPA in connection with that role.

       98.     All communications involving the EPA regarding the purpose or timing of any
attempt to quantify or estimate the flow of hydrocarbons from the MC252 well.

       National Institute of Standards and Technology (NIST):

        99.    Any communications constituting directions, guidance, analysis, commentary or
influence) between the NIST and any person in the FRTG, FISG, Executive Office of the
President, Environmental Protection Agency, Department of Energy, Department of the Interior,
Department of Homeland Security or Department of Commerce, or anyone acting on their
behalf, regarding the quantification or estimation of hydrocarbons escaping from the MC252
well.
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        100. The methods, calculations, analyses, estimates, factors, data and assumptions
considered or employed by the NIST in performing or reviewing any work to quantify or
estimate the flow of hydrocarbons from the MC252 well, including velocimetry, nodal analysis,
reservoir analysis, hydraulics, acoustics, surface expression, mass balance, multiphase flow, and
gas/oil ratio (“GOR”).

       101. All communications within or among the NIST regarding the difficulty, quality,
accuracy or uncertainties associated with efforts to quantify or estimate the flow of hydrocarbons
from the MC252 well.

       102. All communications involving the NIST regarding the purpose or timing of any
attempt to quantify or estimate the flow of hydrocarbons from the MC252 well.

         103. Your knowledge of any documents, analysis or discussion relating to erosion (the
gradual degradation, deterioration, or destruction of surface material caused by the mechanical
action of, e.g., the flow of fluids and/or other materials, including but not limited to
hydrocarbons) occurring within the MC252 well and any of its constituent elements, including
erosion of the bottomhole, annular cement, casing hanger interior, blind shear ram, riser, any
drill pipe remaining in the riser, or any other section or portion of the flow path of hydrocarbons
from the MC252 well, on and after April 20, 2010.

        104. The effect of erosion on the flow rate of hydrocarbons from the MC252 well on
and after April 20, 2010.



Dated: March 30, 2012                                Respectfully submitted,

                                                     By: /s/ J. Andrew Langan, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 30th day of March, 2012.

                                                     /s/ J. Andrew Langan, P.C.___




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